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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                    v.                          :            Case No: 21-CR-28 (APM)
                                                :
JOSHUA JAMES,                                   :
         Defendant                              :


MOTION TO ADOPT CO-DEFENDANT HARRELSON’S MOTION TO DISMISS COUNTS 1, 2,
            3, 4 & 12 OF THE FOURTH SUPERSEDING INDICTMEN T

        The Accused, Joshua James, through counsel, respectfully requests that the Court allow

him to join co-defendant Kenneth Harrelson’s motion to dismiss counts 1, 2, 3, 4 and 12 of the

indictment. See docket entry 278. To the extent that the motion is fact-specific to Mr. Harrelson,

the legal analysis applies equally to all defendants, if granted. Further, it is in the interest of

judicial economy to grant this motion.


                                                Respectfully submitted,

                                                       /s/
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                                                Pro Hac Vice
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                                                ____________/s/_____________
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 2nd day of July, 2021, I will electronically file the foregoing
Notice with the Clerk of Court using the CM/ECF system, which will then send a notification of
said filing (NEF) to counsel of record.

                                                                  _______________/s/__________
                                                                       Joan Robin




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